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EXHIBIT A

(General Ballots)
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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
NEENAH ENTERPRISES, Inc., et al.,’ Case No. 10-10360 (MFW)
Debtors. Jointly Administered

BALLOT FOR BENEFICIAL HOLDERS OF SECURED NOTES (CUSIP
NUMBER ) CLAIMS IN CLASS 4 TO ACCEPT OR REJECT THE JOINT
PLAN OF REORGANIZATION FOR NEENAH ENTERPRISES, INC.

AND ITS SUBSIDIARIES

COMPLETE, SIGN AND DATE THE BALLOT AND RETURN IT IN THE ENCLOSED
ENVELOPE TO YOUR BROKER, BANK, COMMERCIAL BANK, TRANSFER AGENT,
TRUST COMPANY, DEALER, OTHER AGENT OR NOMINEE, OR THEIR MAILING AGENT
(THE “VOTING NOMINEE”) TO PERMIT YOUR VOTING NOMINEE TO COMPLETE AND
RETURN A MASTER BALLOT TO THE VOTING AGENT BY 4:00 P.M. EASTERN TIME ON
JUNE 16, 2010 (THE “VOTING DEADLINE”). DO NOT MAIL BALLOTS DIRECTLY TO THE
DEBTORS, THE VOTING AGENT OR THE SECURED NOTES INDENTURE TRUSTEE.
PLEASE RETURN YOUR BALLOT TO THE VOTING NOMINEE BEFORE THE VOTING
DEADLINE TO ALLOW SUFFICIENT TIME FOR YOUR VOTING NOMINEE TO PROCESS
YOUR BALLOT AND SUBMIT A MASTER BALLOT TO THE VOTING AGENT BY THE
VOTING DEADLINE.

Please use this ballot (the “Ballot”)} to cast your vote to accept or reject the Joint Plan of
Reorganization for Neenah Enterprises, Inc. and Its Subsidiaries (as may be amended and
supplemented, the “Plan”),’ which is proposed by the above-captioned debtors and debtors-in-
possession (the “Debtors”). The Plan is attached as Exhibit A to the Disclosure Statement for the
Pian (as may be amended and supplemented, the “Disclosure Statement”), which accompanies this
Ballot.

You should review the Disclosure Statement and the Plan before you vote. In addition, on
__J, 2010, the United States Bankruptcy Court for the District of Delaware signed an
order (the “Voting Procedures Order”), which accompanies this Ballot, that establishes certain
procedures for the solicitation and tabulation of votes to accept or reject the Plan. The Voting

' The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Neenah Enterprises, Inc. (8281); NFC Castings, Inc. (7913); Neenah Foundry Company (0331); Cast
Alloys, Inc. (1223); Neenah Transport, Inc. (8433), Advanced Cast Products, Inc. (7691); Gregg Industries, Inc.
(8664); Mercer Forge Corporation (1711), Deeter Foundry, lnc. (5148), Dalton Corporation (9770), Belcher
Corporation (3193); Peerless Corporation (4462); A&M Specialties, Inc. (1756), Dalton Corporation, Warsaw
Manufacturing Facility (4775); Dalton Corporation, Ashland Manufacturing Facility (3079); Dalton Corporation,
Kendallville Manufacturing Facility (4777); Dalton Corporation, Stryker Machining Facility Co. (3080), and
Morgan's Welding, Inc. (1300). The mailing address for each Debtor is 2121 Brooks Avenue, Neenah, WI 54957.

> All capitalized terms used herein but not otherwise defined shall have the meanings ascribed to them in the Plan or
the Voting Procedures Order, ag applicable.

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Procedures Order contains important information regarding the balloting process. Please read the
Voting Procedures Order and the instructions sent with this Ballot prior to submitting this Ballot.

Your Secured Notes Claims have been placed in Class 4. [f you hold Claims in other Classes
that you are entitled to vote, you will receive a Ballot for each such other Class.

You may not split your vote on the Plan. You must vote all of your Secured Notes Claims in
this Class to cither accept or reject the Plan.

If the Plan is confirmed by the Bankruptcy Court it will be binding on you whether or not you

yote.

ITEM I.

AGGREGATE AMOUNT OF CLASS 4 CLAIMS. The undersigned
certifies that as of April 30, 2010 (the “Record Date”), the undersigned was
the Holder of Secured Notes Claims in the aggregate unpaid principal amount
set forth below (for purposes of this Ballot, it is not necessary to and you
should not adjust the principal amount for any accrued or unmatured interest).

$

The aggregate unpaid principal amount reflected in the Voting Nominee’s records as of the
Record Date will contro{ the amount of your Secured Notes Claim.

ITEM 2.

O
ITEM 3.

CJ

ITEM 4.

VOTE ON THE PLAN. The Holder of the Secured Notes Claims set forth in
Item 1 above hereby votes with respect to his, her or its Secured Notes Claims
as follows (check one box only):

to ACCEPT the Plan Oo to REJECT the Plan

OPTIONAL RELEASE ELECTION. Check this box if you elect not to grant
the releases contained in Section 10.2(c) of the Plan and elect not to consent
to the related injunction. Election to withhold consent is at your option. If
you submit your Ballot without this box checked, you will be deemed to
consent to the releases set forth in Section 10.2(c) of the Plan and the related
injunction to the fullest extent permitted by applicable law.

The undersigned elects not to grant the releases contained in Section 10,2(c) of
the Plan and elects not to consent to the related injunction.

CERTIFICATION AS TO NOTES HELD IN ADDITIONAL ACCOUNTS.
By signing this Ballot, the undersigned certifies that either (a) this Ballot is
the only Ballot submitted by the undersigned for this Class of Notcholder
Claims or (b) in addition to this Ballot, one or more Ballots (“Additional
Ballots”) for this Class of Noteholder Claims have been submitted to other
Voting Nominees as follows (please use additional sheets of paper if
necessary).
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COMPLETE THIS SECTION ONLY IF YOU HAVE VOTED OTHER
CLASS 4 BALLOTS

Account Number
With Voting
Nominee to
Which Additional
Ballot Was Sent

Name of Voting Nominee to
Which Additional Ballot Was
Sent

Your Vote in the
Additional Ballot
(Accept or Reject)

Principal Dollar
Amount in the
Additional Ballot

To be counted, a Beneficial Owner must vote all of its Noteholder Claims in this
Class to either accept or reject the Plan. No split votes will be permitted.
Accordingly, if'a Beneficial Owner casts conflicting votes on this Ballot and other
Ballots in respect of Notehoider Claims, those votes will not be counted.

ITEM 3.

Name:

Signature:

By:

CERTIFICATION. By signing this Ballot, the Holder of the Secured Notes
Claims identified in Item 1 above certifies that he, she or it:

is the Holder of the Secured Notes Claims to which this Ballot pertains or is
an authorized signatory, and has full power and authority to vote to accept or
reject the Plan;

has been provided with a copy of the Plan, Disclosure Statement,
Confirmation Hearing Notice, and Voting Procedures Order and that it
acknowledges that the vote sct forth on this Ballot is subject to all the terms
and conditions set forth in the Plan, Disclosure Statement and Voting
Procedures Order; and

has not submitted any other Ballots relating to this Class of Claims that are
inconsistent with the vote as set forth in this Ballot or that, as limited by the
terms of the Voting Procedures Order and the instructions attached hercto, if
such other Ballots were previously submitted, they either have been or are
hereby revoked or changed to reflect the vote set forth herein.

(Print or Type)

Title:

(lf Appropriate)

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(if Appropriate)

Street Address:

City, State, Zip Code:

Telephone Number:

Date Completed:

No fees, commissions, or other remuneration will be payable to any broker, dealer, or other
person for soliciting votes on the Plan. This Ballot is not a letter of transmittal and may not be used
for any purpose other than to cast votes to accept or reject the Plan. Moreover, this Ballet shall not
constitute or be deemed to be a Proof of Claim or Interest or an assertion of a Claim against or

Interest in the Debtors.

THE VOTING DEADLINE IS 4:00 P.M. EASTERN TIME ON JUNE 16, 2010
UNLESS SUCH TIME IS EXTENDED. PLEASE RETURN YOUR BALLOT
TO THE VOTING NOMINEE IN SUFFICIENT TIME FOR YOUR VOTING
NOMINEE TO PROCESS YOUR BALLOT AND SUBMIT A MASTER
BALLOT TO THE VOTING AGENT BY THE VOTING DEADLINE.

IF YOU HAVE ANY QUESTIONS REGARDING THIS BALLOT OR THE VOTING
PROCEDURES, OR IF YOU NEED AN ADDITIONAL BALLOT OR ADDITIONAL
COPIES OF THE DISCLOSURE STATEMENT OR OTHER ENCLOSED MATERIALS,
PLEASE CONTACT THE VOTING AGENT AT (866) 405-2136.

[Voting Instructions Follow]
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VOTING INSTRUCTIONS

All capitalized terms used in the Ballot or these instructions but not otherwise defined herein
shall have the meanings ascribed to them in the Plan or Voting Procedures Order, as
applicable.

Please read and follow these instructions carefully. Your Ballot must be sent to your Voting
Nominee so that it is received by the Voting Nominee to allow sufficient time for your
Voting Nominee to complete the Master Ballot and forward the Master Ballot so that it is
received by the Voting Agent no later than 4:00 p.m. Eastern Time on June 16, 2010 unless
such time is extended (the “Voting Deadline”), or your Ballot will not be counted.

For your vote to count, you must:
a. Complete Item 1 if it is not already completed;

b. Cast ONE vote to accept or reject the Plan by checking the proper box in Item 2
(NOTE: if you check both boxes or do not check either box, your vote will not be
counted);

ce. Check the box in Iiem 3 if you elect not to grant the releases contained in Section
10.2 of the Plan and elect not to consent to the related injunction. Election to
withhold consent is at your option. [f you submit your Ballot without the box in Item
3 checked, you will be deemed to consent to the releases set forth in Section 10.2 of
the Plan and the related injunction to the fullest extent permitted by applicable Jaw;

d. Complete Item 4 if you have submitted other Class 4 Ballots.
e. Review and complete the certifications in Item 5;

f. Sign the Ballot — your original signature is required on the Ballot in order for your
vote to count;

g. Ifyou are completing the Ballot on behalf of an entity, indicate your relationship with
such entity and the capacity in which you are signing, and if requested provide proof
of your authorization to so sign. In addition, please provide your name and mailing
address if different from that set forth on the Ballot; and

h. Retum the completed Ballot to the Voting Nominee and NOT to the Debtors, the
Voting Agent or to the Secured Notes Indenture Trustee. Do not return any debt
instruments with your Ballot.

If you believe you received the wrong form of Ballot, or if you need additional Ballots,
please immediately contact the Voting Agent.

If multiple Ballots are received from the same person with respect to the same Claims prior to
the Voting Deadline, the latest dated, validly executed Ballot timely received will supersede
and revoke any earlier received Ballot. If, however, a Holder of Claims casts Baliots
received by the Voting Agent dated with the same date, but which are voted inconsistently,
such Ballots will not be counted.

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6, Any Ballot that is illegible or contains insufficient information to permit the identification of
the claimant shall not be counted.

7. Any Ballot that attempts to partially accept and partially reject the Plan will not be counted.

8. After the Voting Deadline, no Ballot may be withdrawn or modified without the prior
consent of the Debtors.

9, This Ballot does not constitute, and shall not be deemed to be, a Proof of Claim or an
assertion or admission of a Claim.

10. If you hold Claims in more than one Class under the Plan, you may receive more than one
Ballot for each different Class. Each Ballot votes only your Claims indicated on that Ballot.
Please complete and return each Ballot you receive.

PLEASE MAIL YOUR BALLOT PROMPTLY.
BALLOTS SUBMITTED BY FACSIMILE OR OTHER
ELECTRONIC SUBMISSION WILL NOT BE COUNTED.

IF YOU HAVE ANY QUESTIONS REGARDING THE BALLOT OR THE PROCEDURES
GENERALLY, OR IF YOU NEED ADDITIONAL COPIES OF THE BALLOT OR OTHER
ENCLOSED MATERIALS, PLEASE CALL THE VOTING AGENT AT (866) 405-2136,

YOUR BALLOT MUST BE SENT TO YOUR NOMINEE SO THAT THE MASTER
BALLOT CAST ON YOUR BEHALF 18 RECEIVED BY THE VOTING AGENT BY 4:00
P.M. PREVAILING EASTERN TIME ON JUNE 16, 2010, THE VOTING DEADLINE, OR
YOUR BALLOT WILL NOT BE COUNTED.
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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
NEENAH ENTERPRISES, Inc., et al.’ Case No. 10-10360 (MFW)
Debtors. Jointly Administered

BALLOT FOR BENEFICIAL HOLDERS OF
SUBORDINATED NOTES (CUSIP NUMBER | ]} CLAIMS IN CLASS 6
TO ACCEPT OR REJECT THE JOINT PLAN OF REORGANIZATION
FOR NEENAH ENTERPRISES, INC, AND ITS SUBSIDIARIES

COMPLETE, SIGN AND DATE THE BALLOT, AND RETURN IT TO THE
GARDEN CITY GROUP, INC. (THE “VOTING AGENT”) BY 4:00 P.M. EASTERN TIME
ON JUNE 16, 2010 (THE “VOTING DEADLINE”) (I) IN THE ENCLOSED RETURN
ENVELOPE; (II) BY FIRST-CLASS MAIL TO THE GARDEN CITY GROUP, INC., ATTN:
NEENAH BALLOT PROCESSING CENTER, P.O. BOX 9594, DUBLIN, OH 43017-4894,
OR (III) BY OVERNIGHT COURIER OR HAND-DELIVERY TO THE GARDEN CITY
GROUP, INC., ATTN: NEENAH BALLOT PROCESSING CENTER, 5151 BLAZER PRWY.,
SUITE A, DUBLIN, OH 43017. DO NOT MAIL BALLOTS DIRECTLY TO THE DEBTORS.
PLEASE RETURN YOUR ORIGINAL BALLOT TO THE VOTING AGENT 80 THAT IT I
RECEIVED ON OR BEFORE THE VOTING DEADLINE.

Please use this ballot (the “Ballot”) to cast your vote to accept or reject the Joint Plan of
Reorganization for Neenah Enterprises, Inc. and Its Subsidiaries (as may be amended and
supplemented, the “Pian”),’ which is proposed by the above-captioned debtors and debtors-in-
possession (the “Debtors”). The Plan is attached as Exhibit A to the Disclosure Statement for the
Plan (as may be amended and supplemented, the “Disclosure Statement”), which accompamues
this Ballot.

You should review the Disclosure Statement and the Plan before you vote. In addition,
on[ __], 2010, the United States Bankruptcy Court for the District of Delaware signed
an order (the “Voting Procedures Order”), which accompanies this Ballot, that establishes certain
procedures for the solicitation and tabulation of votes to accept or reject the Plan. The Voting

The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Neenah Enterprises, Inc. (8281); NFC Castings, Inc. (7913); Neenah Foundry Company (0331); Cast
Alloys, lnc. (1223); Neenah Transport, Inc. (8433); Advanced Cast Products, Inc. (7691); Gregg Industries, Inc.
(8664); Mercer Forge Corporation (1711); Deeter Foundry, Inc. (5148); Dalton Corporation (9770); Belcher
Corporation (3193); Peerless Corporation (4462); A&M Specialties, Inc. ( 1756): Dalton Corporation, Warsaw
Manufacturing Facility (4775); Dalton Corporation, Ashland Manufacturing Facility (3079); Dalton Corporation,
Kendallville Manufacturing Facility (4777); Dalton Corporation, Stryker Machining Facility Co. (3080), and
Morgan’s Welding, Inc. (1300). The mailing address for each Debtor is 2121 Brooks Avenue, Neenah, WI 54957.

> Ail capitalized terms used herein but not otherwise defined shall have the meanings ascribed to them in the Pian or
the Voting Procedures Order, as applicable.
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Procedures Order contains important information regarding the balloting process. Please rcad
the Voting Procedures Order and the instructions sent with this Ballot prior to submitting this

Ballot.

Your Subordinated Notes Claims have been placed in Class 6. If you hold Subordinated
Notes Claims in other Classes that you are entitled to vote, you will receive a Ballot for each

such other Class.

You may not split your vote on the Plan. You must vote all of your Claims in this Class
1o either accept or reject the Plan.

If the Plan is confirmed by the Bankruptcy Court it will be binding on you whether or not
you vote.

ITEM 1. AGGREGATE AMOUNT OF CLASS 6 CLAIMS. The undersigned
certifies that as of April 30, 2010 (the “Record Date”), the undersigned
was the Holder of Subordinated Notes Claims in the aggregate unpaid
principal amount set forth below (for purposes of this Ballot, it 1s not
necessary to and you should not adjust the principal amount for any
accrued or unpaid interest).

$

The preprinted amount of your Subordinated Notes Claim as set forth above controls
for voting purposes.

ITEM 2. VOTE ON THE PLAN. The Holder of the Subordinated Notes Claims set
forth in Item 1 above hereby votes with respect to his, her or its
Subordinated Notes Claims as follows (check one box only):

to ACCEPT the Plan LI} to REJECT the Plan

ITEM 3. OPTIONAL RELEASE ELECTION. Check this box if you elect not to
grant the releases contained in Section 10.2(c) of the Plan and elect not to
consent to the related injunction. Election to withhold consent is at your
option. If you submit your Ballot without this box checked, you will be
deemed to consent to the releases set forth in Section 10.2(c) of the Plan
and the related injunction to the fullest extent permitted by applicable law.

CJ The undersigned elects not to grant the releases contained in Section 10.2(c)
of the Plan and elects not to consent to the related injunction.

ITEM 4. CERTIFICATION. By signing this Ballot, the Holder of the Subordinated
Notes Claims identified in Item 1 above certifies that he, she or it:
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a. is the Holder of the Subordinated Notes Claims to which this Ballot
pertains or is an authorized signatory, and has full power and authority to
vote to accept or reject the Plan;

b. has been provided with a copy of the Plan, Disclosure Statement and
Voting Procedures Order and that it acknowledges that the vote set forth
on this Ballot is subject to all the terms and conditions set forth in the
Plan, Disclosure Statement and Voting Procedures Order; and

o- has not submitted any other Ballots relating to this Class of Claims that are
inconsistent with the vote as set forth in this Ballot or that, as limited by
the terms of the Voting Procedures Order and the instructions attached
hereto, if such other Ballots were previously submitted, they either have

been or are hereby revoked or changed to reflect the vote set forth herein.

Wame:

(Print or Type)

Signature:

By:

(If Appropriate)

Title:

(Lf Appropriate)

Street Address:

City, State, Zip Code:

Telephone Number:

Date Completed:,

No fees, commissions, or other remuneration will be payable to any broker, dealer, or
other person for soliciting votes on the Plan. This Ballot is not a letter of transmittal and may not
be used for any purpose other than to cast votes to accept or reject the Plan. Moreover, this
Ballot shall not constitute or be deemed to be a Proof of Claim or Interest or an assertion ofa
Claim against or Interest in the Debtors.

YOUR BALLOT MUST BE RECEIVED BY THE VOTING AGENT ON
OR BEFORE 4:00 P.M. EASTERN TIME ON THE VOTING DEADLINE
(JUNE 16, 2010), OR YOUR VOTE WILL NOT BE COUNTED. BALLOTS
SUBMITTED BY FACSIMILE OR OTHER ELECTRONIC SUBMISSION
WILL NOT BE COUNTED.

PLEASE RETURN THIS BALLOT TO THE VOTING AGENT (2) IN THE

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ENCLOSED RETURN ENVELOPE; (II) BY FIRST-CLASS MAIL TO
THE GARDEN CITY GROUP, INC., ATTN: NEENAH BALLOT
PROCESSING CENTER, P.O. BOX 9594, DUBLIN, OH 43017-4894; OR
(Il) BY OVERNIGHT COURIER OR HAND-DELIVERY TO THE
GARDEN CITY GROUP, INC., ATTN: NEENAH BALLOT PROCESSING
CENTER, 5151 BLAZER PKWY., SUITE A, DUBLIN, OH 43017

IF YOU HAVE ANY QUESTIONS REGARDING THIS BALLOT OR THE VOTING
PROCEDURES, OR IF YOU NEED AN ADDITIONAL BALLOT OR ADDITIONAL
COPIES OF THE DISCLOSURE STATEMENT OR OTHER ENCLOSED MATERIALS,
PLEASE CONTACT THE VOTING AGENT AT (866) 405-2136.

[Voting Instructions Follow]

VOTING INSTRUCTIONS

1. All capitalized terms used in the Ballot or these instructions but not otherwise defined herein
shall have the meanings ascribed to them in the Plan or Voting Procedures Order, as
applicable.

2. Please read and follow these instructions carefully. Your Ballot must be received by the

Voting Agent by (a) first-class mail in the return envelope provided with the Ballot, (b) first-
class mail to The Garden City Group, Inc., Attn: Neenah Ballot Processing Center, P.O, Box
9594, Dublin, OH 43017-4894, or (c) overnight courier or hand-delivery to The Garden City
Group, Inc., Attn: Neenah Ballot Processing Center, 5151 Blazer Pkwy., Suite A, Dublin, OH
43017 no later than 4:00 p.m. Eastern Time on June 16, 2010, unless such time is extended,
or your Ballot will not be counted.

3. For your vote to count, you must:
a. Complete Item | if it is not already completed;

b. Cast ONE vote to accept of reject the Plan by checking the proper box in Item 2
(NOTE: if you check both boxes or do not check either box, your vote will not be
counted);

c. Check the box in Item 3 if you elect not to grant the releases contained in Section
10.2 of the Plan and elect not to consent to the related injunction. Election to
withhold consent is at your option. If you submit your Ballot without the box in Item
3 checked, you will be deemed to consent to the releases set forth in Section 10.2 of
the Plan and the related injunction to the fullest extent permitted by applicable law,

d. Review and complete the certifications tn Item 4;

e. Sign the Ballot — your original signature is required on the Ballot in order for your
vote to count;

f. If you are completing the Ballot on behalf of an entity, indicate your relationship with
such entity and the capacity in which you are signing, and if requested provide proof

4
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of your authorization to so sign. In addition, please provide your name and mailing
address if different from that set forth on the Ballot; and

g. Return the completed Ballot to the Voting Agent by (a) first-class mail in the retum
envelope provided with the Ballot, (b) first-class mail to The Garden City Group,
Inc., Attn: Neenah Ballot Processing Center, P.O. Box 9394, Dublin, OH 43017-
4894, or (c) overnight courier or hand-delivery to The Garden City Group, Inc., Attn:
Neenah Ballot Processing Center, 5151 Blazer Pkwy., Suite A, Dublin, OH 43017, so
that it is received no later than 4:00 p.m. Eastern Time on June 16, 2010.

4, If you believe you received the wrong form of Ballot, or if you need additional Ballots,
please immediately contact the Voting Agent.

5. If multiple Ballots are received from the same person with respect to the same Claims prior to
the Voting Deadline, the latest dated, validly executed Ballot timely received will supersede
and revoke any earlier received Ballot. If, however, a Holder of Claims casts Ballots
received by the Voting Agent dated with the same date, but which are voted inconsistently,
such Ballots will not be counted.

é. Any Ballot that is illegible or contains insufficient information to permit the identification of
the claimant shall not be counted.

7, Any Ballot that attempts to partially accept and partially reject the Plan will not be counted.

8. After the Voting Deadline, no Ballot may be withdrawn or modified without the prior
consent of the Debtors.

9. This Ballot does not constitute, and shall not be deemed to be, a Proof of Claim or an
assertion or admission of a Claim.

10. Tf you hold Claims in more than one Class under the Plan, you may receive more than one
Ballot for each different Class. Each Ballot votes only your Claims indicated on that Ballot.
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PLEASE MAIL YOUR BALLOT PROMPTLY.
BALLOTS SUBMITTED BY FACSIMILE OR OTHER
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IF YOU HAVE ANY QUESTIONS REGARDING THE BALLOT OR THE PROCEDURES
GENERALLY, OR IF YOU NEED ADDITIONAL COPIES OF THE BALLOT OR OTHER
ENCLOSED MATERIALS, PLEASE CALL THE VOTING AGENT AT (866) 405-2136,

PLEASE RETURN THIS BALLOT TO THE VOTING AGENT (1) IN THE RETURN
ENVELOPE PROVIDED WITH THE BALLOT; (ID BY FIRST-CLASS MAILE TO THE
GARDEN CITY GROUP, INC., ATTN: NEENAH BALLOT PROCESSING CENTER, P.O,
BOX 9594, DUBLIN, OH 43017-4894; OR (II) BY OVERNIGHT COURIER OR HAND-
DELIVERY TO THE GARDEN CITY GROUP, INC., ATTN: NEENAH BALLOT
PROCESSING CENTER, 5151 BLAZER PKWY ., SUITE A, DUBLIN, OH 43017
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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
NEENAH ENTERPRISES, Inc., et al.’ Case No. 10-10360 (MFW)
Debtors. Jointly Administered

BALLOT FOR HOLDERS OF GENERAL UNSECURED CLAIMS
IN CLASS 5 TO ACCEPT OR REJECT THE JOINT PLAN OF
REORGANIZATION FOR NEENAH ENTERPRISES, INC.
AND ITS SUBSIDIARIES

COMPLETE, SIGN AND DATE THE BALLOT, AND RETURN IT TO THE
GARDEN CITY GROUP, INC. (THE “VOTING AGENT”) BY 4:00 P.M. EASTERN TIME
ON JUNE 16, 2010 (THE “VOTING DEADLINE”) (I) IN THE ENCLOSED RETURN
ENVELOPE; (II) BY FIRST-CLASS MAIL TO THE GARDEN CITY GROUP, INC., ATTN:
NEENAII BALLOT PROCESSING CENTER, P.O. BOX 9594, DUBLIN, OH 43017-4894;
OR (HI) BY OVERNIGHT COURIER OR HAND-DELIVERY TO THE GARDEN CITY
GROUP, INC., ATTN: NEENAH BALLOT PROCESSING CENTER, 5151 BLAZER PEWY.,
SUITE A, DUBLIN, OH 43017. DO NOT MAIL BALLOTS DIRECTLY TO THE DEBTORS.
PLEASE RETURN YOUR ORIGINAL BALLOT TO THE VOTING AGENT 80 THAT IT IS
RECEIVED ON OR BEFORE THE VOTING DEADLINE.

Please use this ballot (the “Ballot’) to cast your vote to accept or reject the Joint Plan of
Reorganization for Neenah Enterprises, Inc. and Its Subsidiaries (as may be amended and
supplemented, the “Plan”),” which is proposed by the above-captioned debtors and debtors-in-
possession (the “Debtors”). The Plan is attached as Exhibit A to the Disclosure Statement for the
Plan (as may be amended and supplemented, the “Disclosure Statement”), which accompanies
this Ballot.

You should review the Disclosure Statement and the Plan before you vote. In addition,
on [__ __], 2010, the United States Bankruptcy Court for the District of Delaware signed
an order (the “Voting Procedures Order”), which accompanies this Ballot, that establishes certain
procedures for the solicitation and tabulation of votes to accept or reject the Plan. The Voting

} The Debtors in these chapter 11] cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Neenah Enterprises, Inc. (8281); NFC Castings, Inc. (7913); Neenah Foundry Company (0331); Cast
Alloys, Inc. (1223); Neenah Transport, Inc. (8433); Advanced Cast Products, Inc. (7691); Gregg Industries, Inc.
(8664); Mercer Forge Corporation (1711); Deeter Foundry, Inc. (5148); Dalton Corporation (9770); Belcher
Corporation (3193); Peerless Corporation (4462); A&M Specialties, Inc. (1756); Dalton Corporation, Warsaw
Manufacturing Facility (4775), Dalton Corporation, Ashland Manufacturing Facitity (3079); Dalton Corporation,
Kendallville Manufacturing Facility (4777); Dalton Corporation, Stryker Machining Facility Co. (3080), and
Morgan’s Welding, Inc. (1300). The mailing address for each Debtor is 212] Brooks Avenue, Neenah, WI 54957.

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ihe Voting Procedures Order, as applicable.
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Procedures Order contains important information regarding the balloting process. Please read
the Voting Procedures Order and the instructions sent with this Ballot prior to submitting this
Ballot.

Your General Unsecured Claims have been placed in Class 5. If you hold Claims in
other Classes that you are entitled to vote, you will receive a Ballot for each such other Class.

You may not split your vote on the Plan. You must vote all of your Claims in this Class
to either accept or reject the Plan.

If the Plan is confirmed by the Bankruptcy Court it will be binding on you whether or not
you vote.

ITEM 1. AGGREGATE AMOUNT OF CLASS 5 CLAIMS. The undersigned
certifies that as of April 30, 2010 (the “Record Date”), the undersigned
was the holder of General Unsecured Claims in the aggregate unpaid
ptincipal amount set forth below (for purposes of this Ballot, it is not
necessary to and you should not adjust the principal amount for any
accrued or unpaid interest).

$

Unless otherwise stated in the Solicitation Procedures, the preprinted amount of your
Claim as set forth in the front of this Ballot controls for voting purposes. If you filed a
Proof of Claim with the Bankruptcy Court for a different aggregate unpaid amount, the
amount stated in the Proof of Claim will be used for voting purposes and you should cross-
out the pre-printed amount set forth above and enter the correct amount above.

ITEM 2. VOTE ON THE PLAN. The Holder of the General Unsecured Claims set
forth in Item 1 above hereby votes with respect to his, her or its General
Unsecured Claims as follows (check one box only):

Oo to ACCEPT the Plan O to REJECT the Plan

ITEM 3. OPTIONAL RELEASE ELECTION. Check this box if you elect not to
grant the releases contained in Section 10.2(c) of the Plan and elect not to
consent to the related injunction. Election to withhold consent is at your
option. If you submit your Ballot without this box checked, you will be
deemed to consent to the releases set forth in Section 10.2(c) of the Plan
and the related injunction to the fullest extent permitted by applicable law.

O The undersigned elects not to grant the releases contained in Section 10,2(c)
of the Plan and elects nol to consent to the related injunction.
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ITEM 4. CERTIFICATION. By signing this Ballot, the Holder of the General

Unsecured Claims identified in Item ] above certifies that he, she or it:

a. is the Holder of the General Unsecured Claims to which this Ballot

pertains or is an authorized signatory, and has full power and authority to

vote to accept or reject the Plan;

b. has been provided with a copy of the Plan, Disclosure Statement and

Voting Procedures Order and that it acknowledges that the vote set forth

on this Ballot is subject to al] the terms and conditions set forth in the
Plan, Disclosure Statement and Voting Procedures Order; and

c. has not submitted any other Ballots relating to this Class of Claims that are
inconsistent with the vote as set forth in this Ballot or that, as limited by

the terms of the Voting Procedures Order and the instructions attached

hereto, if such other Ballots were previously submitted, they either have
been or are hereby revoked or changed to reflect the vote set forth herein.

Name:

(Print or 1 Type)

Signature:

By:

(If Appropriate)

Title:

(if Appropriate)

Street Address:,

City, State, Zip Code:

Telephone Number:

Date Completed:

No lees, commissions, or other remuneration will be payable to any broker, dealer, or

other person for soliciting votes on the Plan. This Ballot is not a Jetter of transmittal and may not

be used for any purpose other than to cast votes to accept or reject the Plan. Moreover, this
Ballot shall not constitute or be deemed to be a Proof of Claim or Interest or an assertion of a
Claim against or Interest in the Debtors.

YOUR BALLOT MUST BE RECEIVED BY THE VOTING AGENT ON
OR BEFORE 4:00 P.M. EASTERN TIME ON THE VOTING DEADLINE
JUNE 16, 2010, OR YOUR VOTE WILL NOT BE COUNTED. BALLOTS
SUBMITTED BY FACSIMILE OR OTHER ELECTRONIC SUBMISSION

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WILL NOT BE COUNTED.

PLEASE RETURN THIS BALLOT TO THE VOTING AGENT (1) IN THE
ENCLOSED RETURN ENVELOPE; (II) BY FIRST-CLASS MAIL TO
THE GARDEN CITY GROUP, INC., ATTN: NEENAH BALLOT
PROCESSING CENTER, P.O. BOX 9594, DUBLIN, OH 43017-4894; OR
(i) BY OVERNIGHT COURIER OR HAND-DELIVERY TO THE
GARDEN CITY GROUP, INC., ATTN: NEENAH BALLOT PROCESSING
CENTER, 5151 BLAZER PKWY., SUITE A, DUBLIN, OH 43017

IF YOU HAVE ANY QUESTIONS REGARDING THIS BALLOT OR THE VOTING
PROCEDURES, OR IF YOU NEED AN ADDITIONAL BALLOT OR ADDITIONAL
COPIES OF THE DISCLOSURE STATEMENT OR OTHER ENCLOSED MATERIALS,
PLEASE CONTACT THE VOTING AGENT AT (866) 405-2136.

[Voting Instructions Follow]
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VOTING INSTRUCTIONS

All capitalized terms used in the Ballot or these instructions but not otherwise defined herein
shall have the meanings ascribed to them in the Plan or Voting Procedures Order, as

applicable,

Please read and follow these instructions carefully. Your Ballot must be received by the
Voting Agent by (a) first-class mail in the return envelope provided with the Ballot, (b) first-
class mail to The Garden City Group, Inc., Attn: Neenah Ballot Processing Center, P.O. Box
9594, Dublin, OH 43017-4894, or (c) overnight courier or hand-delivery to The Garden City
Group, Inc., Aitn: Neenah Ballot Processing Center, 5151 Blazer Pkwy., Suite A, Dublin, OH
43017 no later than 4:00 p.m. Eastem Time on June 16, 2010, unless such lime is extended,
or your Ballot will not be counted.

For your vote to count, you must:
a. Complete Item 1 if it is not already completed;

b. Cast ONE vote to accept or reject the Plan by checking the proper box in Item 2
(NOTE: if you check both boxes or do not check either box, your vote will not be
counted);

c. Check the box in Item 3 if you elect not to grant the releases contained in Section
10.2 of the Plan and elect not to consent to the related injunction. Election to
withhold consent is at your option. If you submit your Ballot without the box in Item
3 checked, you will be deemed to consent to the releases set forth in Section 10.2 of
the Plan and the related injunction to the fullest extent permitted by applicable law;

d. Review and complete the certifications in Item 4;

e. Sign the Ballot — your original signature ts required on the Ballot in order for your
vote to count;

f. If you are completing the Ballot on behalf of an entity, indicate your relationship with
such entity and the capacity in which you are signing, and if requested provide proof
of your authorization to so sign. In addition, please provide your name and mailing
address if different from that set forth on the Ballot: and

g. Return the completed Ballot to the Voting Agent by (a) first-class mail in the return
envelope provided with the Ballot, (b) first-class mail to The Garden City Group,
Inc., Attn: Neenah Ballot Processing Center, P.O. Box 9594, Dublin, OH 43017-
4894, or (c) overnight courier or hand-delivery to The Garden City Group, Inc., Attn:
Neenah Ballot Processing Center, 5151 Blazer Pkwy., Suite A, Dublin, OH 43017, so
that it is received no later than 4:00 p.m. Eastern Time on June 16, 2010.

If you believe you received the wrong form of Ballot, or if you need additional Ballots,
please immediately contact the Voting Agent.

If multiple Ballots are received from the same person with respect to the same Claims prior to
the Voting Deadline, the latest dated, validly executed Ballot timely received will supersede

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and revoke any earlier received Ballot. If, however, a Holder of Claims casts Ballots
received by the Voting Agent dated with the same date, but which are voted inconsistently,
such Ballots will not be counted.

Any Ballot that is illegible or contains insufficient information to permit the identification of
the claimant shall not be counted.

Any Ballot that attempts to partially accept and partially reject the Plan will not be counted.

After the Voting Deadline, no Ballot may be withdrawn or modified without the prior
consent of the Debtors.

This Ballot does not constitute, and shall not be deemed to be, a Proof of Claim or an
assertion or admission of a Claim.

If you hold Claims in more than one Class under the Plan, you may receive more than one
Ballot for each different Class. Each Ballot votes only your Claims indicated on that Ballot.
Please complete and return each Ballot you receive.

If you wish to have your Claim allowed for purposes of voting on the Plan in a manner
that is inconsistent with the Ballot you received or if you did not receive a Ballot and
wish to have your Claim temporarily allowed for voting purposes only, you must serve
on the Debtors and file with the Bankruptcy Court, on or before May 31, 2010, a motion
for an order pursuant to Bankruptcy Rule 3018(a) temporarily allowing such Claim for
purposes of voting (the “3018 Motion”). A 3018 Motion must set forth with particularly
the amount and classification of which you believe your Claim should be allowed for
voting purposes, and the evidence in support of your belief. In respect of any timely-filed
3018 Motion, the Ballot in question shall be counted in the amount established by the
Bankruptey Court in an order entered on or before the Voting Deadline. June 7, 2010 at
10:30 a.m. (Eastern Time) has been established as the date for a hearing to consider all
3018 Motions. PARTIES WHO WERE GIVEN THE OPTION OF FILLING IN A
CLAIM AMOUNT ON THEIR BALLOTS DO NOT NEED TO FILE 4 3018
MOTION.

PLEASE MAIL YOUR BALLOT PROMPTLY.
BALLOTS SUBMITTED BY FACSIMILE OR OTHER
ELECTRONIC SUBMISSION WILL NOT BE COUNTED.

IF YOU HAVE ANY QUESTIONS REGARDING THE BALLOT OR THE PROCEDURES
GENERALLY, OR IF YOU NEED ADDITIONAL COPIES OF THE BALLOT OR OTHER

ENCLOSED MATERIALS, PLEASE CALL THE VOTING AGENT AT (866) 405-2136.
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